
Pennington, J. — I
incline to think that none of the reasons assigned for the reversal of this judgment are supported by the record, except the first, which is, that the justice adjourned'the cause beyond the time allowed by the law for adjournments in courts for the trial of small causes. The summons was returned the 16th November. The cause was adjourned on that day to the 30th, then to the 15th December, and again to the 22d December, and no consent *419given to this by the defendant below, the plaintiff in this court. The Legislature have lately had this subject under consideration, and have allowed a second adjournment [*] for fifteen days, on affidavit of the absence of a material witness; no affidavit was made; and even if it had been, yet there was a third adjournment; carrying the whole time beyond twice fifteen days. For this cause, I [624] think this judgment should be reversed.
M’lhaine, for plaintiff.
Kirkpatrick, C. J., and Eossell, J.
Were of the same opinion.
Judgment reversed.
Cited is Horner v. Hewlings, 3 Halst. 227.
